      Case 2:20-cr-01217 Document 60 Filed on 07/28/21 in TXSD Page 1 of 6




                             UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF TEXAS

                                 CORPUS CHRISTI DIVISION



UNITED STATES OF AMERICA                               §
                                                       §
v.                                                     § CRIMINAL NO. C-20-1217-02
                                                       §
SOFIA TIJERINA                                         §


                            GOVERNMENT=S MOTION IN LIMINE

       COMES NOW the United States of America, by and through the Acting United States

Attorney for the Southern District of Texas, and respectfully moves this Court to grant this Motion

in Limine. Specifically, the Government requests that the Court direct the Defendant, counsel for the

Defendant, and all witnesses for the defendant, not to mention, refer to, interrogate concerning, or

bring to the attention of the jury in any manner, directly or indirectly, any of the following matters

without first approaching the bench and obtaining a ruling on their admissibility, for the reason

that the mere mention of such matters would be error and would harm or prejudice the right of the

Government to a fair trial and the harm and prejudice created could not completely be cured by an

instruction to disregard:

                                                  I.

         Any question, comment, argument, or testimony concerning the punishment, range of

punishment and potential collateral consequences, either directly or by reference, the Defendant

faces if convicted.

                                                 II.

         Any question, comment, argument, or testimony encouraging the jury to base their verdict
      Case 2:20-cr-01217 Document 60 Filed on 07/28/21 in TXSD Page 2 of 6




on bias or sympathy. The Court instructs the jury that they are not to be influenced by bias or

sympathy but are to base their verdict on the facts as they find them and the law that the Court

gives them. Pattern Crim. Jury Instr. 5th Cir. 1.04 (2019). The jury should not be encouraged to

disregard these instructions by questions, arguments, or testimony that are designed to encourage

it to ignore the Court’s instructions and allow themselves to be influenced by bias or sympathy.

                                               III.

        Any question, comment, argument, or testimony encouraging the jury to judge the

wisdom or value of the laws which the Defendant is accused of violating. The jury=s function is to

apply the law given them by the Court to the facts as they find them. The jury is clearly not

permitted to judge the wisdom or value of the law and should not be encouraged to do so by

questions, arguments, or testimony designed to elicit such judgments on their part.

                                               IV.

       Any question, comment, argument, or testimony concerning the criteria used to select if

and how a case will be prosecuted.

                                               V.

        Any testimony regarding the prior criminal history for any of the witnesses unless

previously allowed by the Court.

                                               VI.

        Any testimony regarding the prior criminal or immigration history for any of the

witnesses unless previously allowed by the Court.

                                               VII.

       Any question, comment, argument, or testimony about the Defendant’s statements to

agents made at the time of and leading up to her arrest that were made out of court and that would

be used by the Defendant to attempt to explain her conduct. These statements would necessarily
         Case 2:20-cr-01217 Document 60 Filed on 07/28/21 in TXSD Page 3 of 6




have to be admitted for the fact of the matter asserted. Fed. R. Evid. 801. The statements are self-

serving for the Defendant and represent hearsay without an exception unless introduced by the

Government as an admission by a party opponent. Fed. R. Evid. 801(d)(2)(A).

          The Government requests that the Court prohibit defense counsel from attempting to elicit

hearsay statements of the Defendant from other witnesses, including asking questions like:

          “Isn’t it true that the Defendant told you she did not know that the aliens were in the

vehicle?”

          “Didn’t the Defendant tell you she is innocent?”, etc.

                                                         VIII.

          Any question, comment, argument, or testimony that relate to any purported defense of

“justification, duress, or coercion” unless the Defendant first makes a prima facie showing to the

Court satisfying each and every required element of the defense [1]. The Government respectfully

requests that the Court rule on this issue prior to opening statements to avoid the prejudice,

confusion, and invitation for jury nullification that would result from such statements, argument,

and evidence.



                                                     Conclusion

           The Government requests this Court to order the Defendant, defense counsel, defense

agents, employees, investigators, and any witnesses to be called to the witness stand to be

instructed that they are not to go into, refer to, allude to or in any manner bring before the jury

any comments, evidence of discussions or response to questions concerning any of the foregoing




[1]The  Fifth Circuit requires the Defendant to show, by a preponderance of evidence, that (1) the Defendant was under
an unlawful present, imminent, and impending threat of such a nature as to induce a well-grounded fear of death or
serious bodily injury to himself; (2) the Defendant had not recklessly or negligently placed himself in a situation where
he would likely be forced to choose the criminal conduct; (3) the Defendant had no reasonable legal alternative to
violating the law, that is a reasonable opportunity both to refuse to do the criminal act and also to avoid the threatened
harm; and (4) a reasonable person would believe that by committing the criminal action, he would directly avoid the
threatened harm. Pattern Crim. Jury Instr. 5th Cir. 1.38 (2019).
      Case 2:20-cr-01217 Document 60 Filed on 07/28/21 in TXSD Page 4 of 6




matters.


                                           Respectfully submitted,

                                           JENNIFER B. LOWERY
                                           ACTING UNITED STATES ATTORNEY

                                     By:
                                           Molly K. Smith
                                           Assistant United States Attorney
                                           New York State Bar No. 5510535
                                           Southern District No. 3610275
                                           One Shoreline Plaza
                                           800 N. Shoreline Blvd., Suite 500
                                           Corpus Christi, TX 78401
                                           Tel: (361) 888-3111
                                           Fax: (361) 888-3200
                                           Email: molly.smith@usdoj.gov
      Case 2:20-cr-01217 Document 60 Filed on 07/28/21 in TXSD Page 5 of 6




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing MOTION IN LIMINE has

been sent to Jesus Villalobos, Jr., the attorney for the Defendant, via ECF filing and email, on the

28th day of July, 2021.


                                               Molly K. Smith
                                               Assistant United States Attorney
       Case 2:20-cr-01217 Document 60 Filed on 07/28/21 in TXSD Page 6 of 6

                            UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF TEXAS CORPUS

                                       CHRISTI DIVISION



UNITED STATES OF AMERICA                       §
                                               §
v.                                             § CRIMINAL NO. 2:20-CR-1217
                                               §
SOFIA TIJERINA                                 §


                                            ORDER

       Upon consideration of the Government’s Motion in Limine, it is hereby:


              I.                 GRANTED          /      DENIED

              II.                GRANTED          /      DENIED

              III.               GRANTED          /      DENIED

              IV.                GRANTED          /      DENIED

              V.                 GRANTED          /      DENIED

              VI.                GRANTED          /      DENIED

              VII.               GRANTED          /      DENIED

              VIII.              GRANTED          /      DENIED




       SIGNED this the        day of                     , 2021, at Corpus Christi, Texas.




                                                  DAVID S. MORALES
                                                  UNITED STATES DISTRICT JUDGE
                                                  SOUTHERN DISTRICT OF TEXAS
